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                        UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION


  UNITED STATES OF AMERICA,                   *
                                              * CASE NO.: CR214-12
                                              *
                                              *
   RECARDO M. HARRIS,                         *
        Defendant.                            *


                                         [iJi 1]1
         Upon consideration of the Motion for Leave of Absence by attorney RONALD E.

   HARRISON II for the dates of September 26-29, 2014; November 10-14, 2014; December 12-




                                              _p
   15, 2014 and December 29-January 5, 2015, the same is hereby GRANTED.

         SO ORDERED, this     2      day of                             2014.



                                                          -.-----   '-c'
                                                         United States District Court
                                                         m District of Georgia
